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UNITED STATES DISTRICT COURT                          SOUTHERN DISTRICT OF TEXAS
                                                                         United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
Hsin Chi Su,                                   §                                       May 23, 2019
                                                                                    David J. Bradley, Clerk
                                               §
                 Plaintiff,                    §
                                               §
'Versus                                        §
                                               §
Bank Sinopac, a al.,                           §
                                               §
                 Defendants.                   §


                                        Final judgment

             On the motions ofWilmington T ru5t, National Association in civil action H-
     14-2165 and civil action H-14-2166, Wilmington Trust, National Association,
     recovers a judgment for (A) the principal of S6o,459,959·33 owed it on Hsin Chi Su's
     guaranties, (B) $I7,16g,737·40 in prejudgment interest, and (C) post-judgment
     interest at a rate of 2.32%. (94) (8o)


             Signed on May     -z-2-, 2019, at Houston, Texas.


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